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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


CITRIX SYSTEMS, INC.,
                                                        C.A. No. 18-588-GMS
                              Plaintiff,

           v.


WORKSPOT, INC.

                              Defendant.


 STIPULATION AND [PROPOSED] ORDER REGARDING AMENDING SCHEDULE
   FOR CITRIX SYSTEMS, INC.’S MOTION FOR PRELIMINARY INJUNCTION

       WHEREAS Plaintiff Citrix Systems, Inc. (“Citrix”) and Defendant Workspot, Inc.

(“Workspot”) filed a Stipulation Regarding the Schedule for Citrix’s Motion for Preliminary

Injunction (the “Motion”) on June 6, 2018 (D.I. 26; the “Stipulation”);

       WHEREAS the Court granted the Stipulation on June 12, 2018 (D.I. 31);

       WHEREAS Citrix and Workspot have made a good faith effort to exchange discovery on

an expedited basis, but believe that they would benefit from additional time to complete

discovery related to the Motion and to submit additional briefing regarding the Motion;

       IT IS HEREBY STIPULATED by the undersigned counsel, subject to the approval of the

Court, that additional briefing for the Motion and a hearing regarding the Motion shall proceed

according to the following amended schedule:

Event                                                               Date
Defendant’s Opposition and Declarations and                     August 17, 2018
Expert Disclosures
Plaintiff’s Reply and Expert Disclosures                    September 21, 2018
Pre-Hearing Teleconference                            September 28, 2018, at 2:00 pm ET
Hearing on Preliminary Injunction Motion               October 5, 2018, at 10:00 am ET
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Respectfully submitted,                            Dated: July 17, 2018

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SO ORDERED this __ day of July, 2018



                                       _________________________________
                                       UNITED STATES DISTRICT JUDGE
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